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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                  DECISION AND ORDER

CHARLES ROSE a/k/a Chuck,                                   14-CR-214S-5

                            Defendant.


       1.     On May 7, 2018, the Defendant Charles Rose pled guilty to Count 3 of the

Indictment (Docket No. 1) charging a violation of Title 21 U.S.C. 860 (possession with

intent to distribute and distribution of cocaine base within 1,000 feet of a public housing

authority property).

       2.     On May 7, 2018, the Honorable H. Kenneth Schroeder, Jr. United States

Magistrate Judge, filed a Report and Recommendation (Docket No. 711) recommending

that Defendant’s plea of guilty be accepted and the Defendant adjudicated guilty.

       3.     This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1) and Local Rule 59(b).

       4.     This Court has carefully reviewed de novo Judge Schroeder’s May 7, 2018,

Report and Recommendation, the Plea Agreement, the Indictment, the digital FTR

recording of the proceeding and the applicable law. Upon due consideration, this Court

finds no legal or factual error in Judge Schroeder’s Report and Recommendation, and will

accept Judge Schroeder’s recommendation that Defendant’s plea of guilty be accepted

and that the Defendant be adjudicated guilty as charged.
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       IT HEREBY IS ORDERED, that this Court accepts Judge Schroeder’s May 7, 2018,

Report and Recommendation (Docket No. 711) in its entirety, including the authorities cited

and the reasons given therein.

       FURTHER, that the plea of guilty of Defendant Charles Rose is accepted, and he

is now adjudged guilty of Title 21 U.S.C. §860.

       FURTHER, sentencing shall remain scheduled for September 5, 2018 at 11:00 am

before the undersigned.

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       SO ORDERED.


Dated: August 3, 2018
       Buffalo, New York



                                                         /s/William M. Skretny
                                                        WILLIAM M. SKRETNY
                                                      United States District Judge




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